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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-3893-RGK (AGRx)                                           Date      March 21, 2019
 Title             Edwardo Munoz v. 7-Eleven, Inc.




 Present: The                    Alicia G. Rosenberg, United States Magistrate Judge
 Honorable
                 Karl Lozada                               XTR 03/21/2019                            N/A
                 Deputy Clerk                         Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                       Patrick H Peluso                                       Delavan J Dickson
 Proceedings:                  TELEPHONIC DISCOVERY CONFERENCE - MOTION FOR
                               RULING ON DISCOVERY DISPUTES (Dkt. No. 62)

         Case is called. Counsel state their appearances.

        The court conducted a telephonic discovery conference regarding the discovery disputes listed in
the parties’ joint report regarding Defendant’s subpoenas to four former employers of Plaintiff (Dkt. No.
62). The court and counsel conferred as stated on the record.

      For the reasons stated on the record, IT IS ORDERED that Plaintiff’s motion for protective order
is GRANTED IN PART AND DENIED IN PART as follows:

         1.         Plaintiff’s motion is denied to the extent that the former employers may produce (a)
                    Plaintiff’s job applications and resumes, and (b) documents sufficient to show the
                    beginning and ending dates of Plaintiff’s employment with each employer.

         2.         Plaintiff’s motion is granted in all other respects.

         This order is without prejudice to any third party’s ability to object to a subpoena served upon it.

         IT IS SO ORDERED.

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                                                                 Initials of Preparer   kl




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